Case 4:15-cv-00205-P Document 11 Filed 05/26/15   Page 1 of 3 PageID 33
Case 4:15-cv-00205-P Document 11 Filed 05/26/15   Page 2 of 3 PageID 34
   Case 4:15-cv-00205-P Document 11 Filed 05/26/15                Page 3 of 3 PageID 35
                            United States District Court
                                Northern District of Texas
                                                                        Fort Worth Division

                                         May 26, 2015

Lisa A Biron #12775-049
BOP Carswell FMC
PO Box 27137
Fort Worth, TX 76127



Re: Your correspondence received in the U.S. District Clerk’s Office on May 26, 2015
Case No./Style: 4:15-CV-205-O, 4:14-CV-772-O

Enclosed is a copy of your docket sheet, provided free of charge as a one time courtesy.

Service has not been effected on the defendants in 4:15-CV-205. In the Order dated March 19,
2015, document #6, mailed to you on that same date, the Judge ordered that service of process
will be withheld pending judicial screening.

Regarding forms, if there is a specific form you need, let us know which one and we can send it
to you. You can also view and print all our forms from the Northern District website,
www.txnd.uscourts.gov.




                                                           Sincerely,
                                                           Deputy Clerk - mpw
